                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MARYLAND

----------------------------------------------------------
SHIVA STEIN,                                                 :
Franklin Lakes, NJ 07417,                                    :
                                                             :   Civil Action No. ______________
                  Plaintiff,                                 :
                                                             :
v.                                                           :   COMPLAINT FOR VIOLATIONS OF
                                                             :   SECTIONS 14(a) AND 20(a) OF THE
TCF FINANCIAL CORPORATION,                                   :   SECURITIES EXCHANGE ACT OF
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :   1934
                                                             :
GARY TORGOW,                                                 :   JURY TRIAL DEMANDED
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
THOMAS C. SHAFER,                                            :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
VANCE K. OPPERMAN,                                           :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
DAVID T. PROVOST,                                            :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
PETER BELL,                                                  :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
KAREN L. GRANDSTRAND,                                        :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
RICHARD H. KING,                                             :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
RONALD A. KLEIN,                                             :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
BARBARA J. MAHONE,                                           :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
BARBARA L. MCQUADE,                                          :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                             :
ROGER J. SIT,                                                :
333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                              :
 JULIE H. SULLIVAN,                                           :
 333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                              :
 JEFFREY L. TATE,                                             :
 333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                              :
 ARTHUR A. WEISS,                                             :
 333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                              :
 FRANKLIN C. WHEATLAKE,                                       :
 333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                              :
 THERESA M.H. WISE,                                           :
 333 W. Fort Street, Suite 1800, Detroit, Michigan 48226      :
                                                              :
 -AND-                                                        :
                                                              :
 HUNTINGTON BANCSHARES INCORPORATED,
 41 South High Street, Columbus, Ohio 43287
 Serve at: 2405 York Road, Suite 201
 Lutherville-Timonium, MD 21093

                   Defendants.
 ---------------------------------------------------------

        Shiva Stein (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against TCF Financial Corporation (“TCF or

the “Company”), and the members TCF’s board of directors (the “Board” or the “Individual

Defendants” and collectively with the Company, the “Defendants”) for their violations of Section

14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a),

78t(a), and SEC Rule 14a-9, 17 C.F.R. 240.14a-9 and 17 C.F.R. § 244.100, in connection with the

proposed merger between TCF and Huntington Bancshares, Inc. (“Huntington”).



                                                         2
       2.      Defendants have violated the above-referenced Sections of the Exchange Act by

causing a materially incomplete and misleading Registration Statement on Form S-4 (the

“Registration Statement”) to be filed on January 28, 2021 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to Company stockholders. The Registration

Statement recommends that Company stockholders vote in favor of a proposed transaction

whereby TCF will merge with and into Huntington, with Huntington continuing as the surviving

corporation (the “Proposed Transaction”). Pursuant to the terms of the Agreement and Plan of

Merger, the companies entered into (the “Merger Agreement”) each outstanding TCF common

share of beneficial interest will be converted into the right to receive 3.0028 shares of Huntington

common stock (the “Merger Consideration”).

       3.      As discussed below, Defendants have asked TCF’s stockholders to support the

Proposed Transaction based upon the materially incomplete and misleading representations and

information contained in the Registration Statement, in violation of Sections 14(a) and 20(a) of

the Exchange Act. Specifically, the Registration Statement contains materially incomplete and

misleading information concerning the financial projections that were prepared by the Company

and relied upon by the Board in recommending the Company’s stockholders vote in favor of the

Proposed Transaction. The financial projections were also utilized by the financial advisor of the

Company, Keefe, Bruyette & Woods, Inc. (“KBW”) in conducting the valuation analyses in

support of its fairness opinion. The Registration Statement also omits or misrepresents information

regarding the financial analyses conducted by KBW.

       4.      It is imperative that the material information that has been omitted from the

Registration Statement is disclosed to the Company’s stockholders prior to the forthcoming

stockholder vote so that they can properly exercise their corporate suffrage rights.




                                                 3
        5.     For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to TCF’s stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

        6.     This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Section 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.

        7.     Personal jurisdiction exists over each Defendant either because the Defendant

Huntington is incorporated in Maryland, or is an individual or entity who is either present in this

District for jurisdictional purposes or has sufficient minimum contacts with this District as to

render the exercise of jurisdiction over defendant by this Court permissible under traditional

notions of fair play and substantial justice.

        8.     Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because defendant Huntington in incorporated in this

District.

                                                PARTIES

        9.     Plaintiff is, and has been at all relevant times, the owner of TCF common stock and

has held such stock since prior to the wrongs complained of herein.

        10.    Individual Defendant Gary Torgow has served as a member of the Board since 2019

and is the Executive Chairman.

        11.    Individual Defendant Thomas C. Shafer has served as a member of the Board since

2020 and is the Vice Chairman of the Board.


                                                   4
        12.   Individual Defendant Vance K. Opperman has served as a member of the Board

since 2019.

        13.   Individual Defendant David T. Provost has served as a member of the Board since

2016 and is the Chief Executive Officer of the Company.

        14.   Individual Defendant Peter Bell has served as a member of the Board since 2019.

        15.   Individual Defendant Karen L. Grandstrand has served as a member of the Board

since 2019.

        16.   Individual Defendant Richard H. King has served as a member of the Board since

2019.

        17.   Individual Defendant Ronald A. Klein has served as a member of the Board since

2019.

        18.   Individual Defendant Barbara J. Mahone has served as a member of the Board since

2019.

        19.   Individual Defendant Barbara L. McQuade has served as a member of the Board

since 2019.

        20.   Individual Defendant Roger J. Sit has served as a member of the Board since 2019.

        21.   Individual Defendant Julie H. Sullivan has served as a member of the Board since

2019.

        22.   Individual Defendant Jeffrey L. Tate has served as a member of the Board since

2019.

        23.   Individual Defendant Arthur A. Weiss has served as a member of the Board since

2019.




                                              5
       24.      Individual Defendant Franklin C. Wheatlake has served as a member of the Board

since 2019.

       25.      Individual Defendant Theresa M.H. Wise has served as a member of the Board

since 2019.

       26.      Defendant TCF is incorporated in Michigan and maintains its principal offices at

333 W. Fort Street, Suite 1800, Detroit, Michigan 48226. The Company’s common stock trades

on the NASDAQ Stock Exchange under the symbol “TCF.”

       27.      Defendant Huntington is incorporated in Maryland and maintain its principal

offices at 41 South High Street, Columbus, Ohio 43287. The Company’s common stock trades on

the NASDAQ Stock Exchange under the symbol “HBAN.”

       28.      The defendants identified in paragraphs 10-25 are collectively referred to as the

“Individual Defendants” or the “Board.”

       29.      The defendants identified in paragraphs 10-27 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.     The Proposed Transaction

       30.      TCF operates as the financial holding company for TCF National Bank that

provides various financial products and services in the United States and Canada. It operates

through Consumer Banking, Wholesale Banking, and Enterprise Services segments. The Company

offers checking, savings, and money market accounts; certificates of deposit; and individual

retirement accounts. It also provides consumer loans; loans secured by personal property, as well

as unsecured personal loans; commercial and industrial loans; commercial real estate loans; lease

and equipment financing products; inventory financing products; and residential, consumer, and

small business lending products. In addition, the Company offers investment management and


                                                6
custodial, trust, and financial and estate planning services; retirement planning and employee

benefit programs; and cash management, international trade finance, foreign exchange

management, and loan syndication services, as well as sells investment products, such as annuity

products and mutual funds. Further, it provides treasury services comprising investment and

borrowing portfolios, as well as manages capital, debt, and market risks; check cashing and

remittance services; lines of credit, letters of credit, and capital market products; and credit and

debit cards. As of December 31, 2019, the Company had 520 branches, including 396 traditional

branches, 121 supermarket branches, and three campus branches located in Michigan, Illinois,

Minnesota, Colorado, Ohio, Wisconsin, Arizona, and South Dakota; and 1,099 ATMs. TCF was

founded in 1923 and is headquartered in Detroit, Michigan.

       31.     On December 13, 2020, the Company and Huntington jointly announced the

Proposed Transaction:

               COLUMBUS, Ohio and DETROIT, Dec. 13, 2020 /PRNewswire/ -
               - Huntington      Bancshares       Incorporated     ("Huntington")
               (Nasdaq: HBAN; www.huntington.com), the parent company of
               The Huntington National Bank, and TCF Financial Corporation
               ("TCF") (Nasdaq: TCF; www.tcfbank.com), the parent company of
               TCF National Bank, today announced the signing of a definitive
               agreement under which the companies will combine in an all-stock
               merger with a total market value of approximately $22 billion to
               create a top 10 U.S. regional bank with dual headquarters in Detroit,
               Michigan and Columbus, Ohio.

               The combined company will bring together two purpose-driven
               organizations with a deep commitment to the customers and
               communities they serve. With a rich history of caring for customers
               and colleagues, the new organization will have a top 5 rank in
               approximately 70% of its deposit markets1 and will leverage its
               scale to serve customer needs through a distinctive, "People-First,
               Digitally-Powered" customer experience.
               Under the terms of the agreement, which was unanimously approved
               by the boards of directors of both companies, TCF will merge into
               Huntington, and the combined holding company and bank will
               operate under the Huntington name and brand following the closing



                                                 7
    of the transaction. Upon closing, Stephen D. Steinour will remain
    the chairman, president, and CEO of the holding company and CEO
    and president of the bank. Gary Torgow will serve as chairman of
    the bank's board of directors.

    "This merger combines the best of both companies and provides the
    scale and resources to drive increased long-term shareholder value.
    Huntington is focused on accelerating digital investments to further
    enhance our award-winning people-first, digitally powered
    customer experience," Steinour said. "We look forward to
    welcoming the TCF Team Members. Together we will have a
    stronger company better able to support our customers and drive
    economic growth in the communities we serve."
    The headquarters for the Commercial Bank will be in Detroit where
    at least 800 employees of the combined company, nearly three times
    the number TCF had planned, will be housed in the downtown
    structure. Columbus will remain the headquarters for the holding
    company and the Consumer Bank.

    "This partnership will provide us the opportunity for deeper
    investments in our communities, more jobs in Detroit, an increased
    commitment in Minneapolis and a better experience for our
    customers," Torgow said. "We will be a top regional bank, with the
    scale to compete and the passion to serve. Merging with the
    Huntington platform will be a great benefit to all of our stakeholders
    and will drive significant opportunities for our team members."
    The pro forma combined company will have approximately $168
    billion in assets, $117 billion in loans, and $134 billion in deposits.
    The combined organization will significantly improve Huntington's
    market position, increase scale and provide greater revenue growth
    opportunities. The company is expected to extend its top quartile
    financial metrics after completion of the integration.
    Huntington expects the financially compelling transaction to be 18%
    accretive to earnings per share in 2022, assuming the fully phased-
    in transaction cost synergies. The merger uniquely positions the
    combined organization to capitalize on market opportunities and
    broaden the channels and customers it serves through expanded
    distribution and product offerings.

    Strategic and Financial Benefits of the Proposed Merger
•   Enhanced Profitability and Scale: The combined company's
    expanded distribution and scale positions Huntington to serve an
    expanded customer base through a distinctive customer experience
    while driving top-quartile financial performance.




                                      8
•   Significant Cost Synergies: Estimated cost savings of the
    combined company are approximately $490 million, or 37% of
    TCF's noninterest expense.
•   Revenue Growth through Combined Segments and Expanded
    National Footprint Businesses: The combined company will
    strengthen its Consumer, Wealth, Business Banking, and
    Commercial businesses. Huntington will leverage its broader
    product and services offering, as well as its award-winning digital
    capabilities, across the expanded combined customer base. In
    addition, TCF operates national inventory and equipment finance
    businesses, which will complement Huntington's existing
    commercial efforts.
•   Strengthened Market Position: The combined company will
    maintain its leading market position with the largest branch share
    and second position in Consumer Deposits in the footprint. The
    combination       expands     the      Huntington    footprint    to
    include Minnesota, Colorado, Wisconsin, and South Dakota, and
    deepens its presence in Chicago.
•   Strong Brand and Cultural Alignment: The combined company
    expands the reach of Huntington's "Welcome" culture and enriches
    an inclusive, diverse, high-performing team.
•   Community Commitment: Huntington will contribute $50
    million to a donor advised fund at the Community Foundation
    for Southeast Michigan to serve the needs of communities
    in Detroit and across the footprint of the combined bank. This donor
    advised fund will be in addition to commitments already made by
    both banks, including a combined $10 million to Detroit's Strategic
    Neighborhood Fund. The combined company also will remain
    committed to Minneapolis, where TCF was founded nearly a
    century ago. Huntington and TCF have consistently earned
    "Outstanding" ratings under the Community Reinvestment Act.
    Huntington recently announced a $20 billion Community Plan,
    which is focused on driving economic inclusion through access to
    capital, affordable housing and home ownership, and community
    lending and investment. $5 billion is specifically dedicated
    to Michigan. The most recent component of the Community Plan is
    "Huntington's Lift Local Business" which provides much-needed
    capital to local minority, woman and veteran-owned businesses, as
    well as giving customers access to business planning and
    educational programs to support local businesses. TCF also recently
    announced a $1 billion commitment over five years to support
    minority-owned and women-owned small businesses, which will be
    added to Huntington's commitment. Huntington is the #1 SBA
    Lender in the nation for loan origination, and this merger will
    provide expanded opportunity to bring that expertise to a larger,
    combined footprint.



                                     9
             •
                 Board of Directors
                 At closing, five current TCF Directors will be added to the Board of
                 Directors of the holding company. David L. Porteous will serve as
                 Lead Director of the holding company's Board of Directors and the
                 bank's Board of Directors.

                 Timing and Approvals
                 The merger is expected to close in the second quarter of 2021,
                 subject to satisfaction of customary closing conditions, including
                 receipt of customary regulatory approvals and approval by the
                 shareholders of each company.

                 Advisors
                 Goldman Sachs & Co. LLC is serving as financial advisor to
                 Huntington. Wachtell, Lipton, Rosen & Katz is serving as legal
                 advisor to Huntington.
                 Keefe, Bruyette & Woods, a Stifel Company, is serving as financial
                 advisor to TCF. Simpson Thacher & Bartlett LLP is serving as legal
                 advisor to TCF.

                                                ***

       32.       The Board has unanimously agreed to Proposed Transaction. It is therefore

imperative that TCF’s stockholders are provided with the material information that has been

omitted from the Registration Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Registration Statement

       33.       On January 28, 2021, TCF and Huntington jointly filed the Registration Statement

with the SEC in connection with the Proposed Transaction. The Registration Statement was

furnished to the Company’s stockholders and solicits the stockholders to vote in favor of the

Proposed Transaction.       The Individual Defendants were obligated to carefully review the

Registration Statement before it was filed with the SEC and disseminated to the Company’s

stockholders to ensure that it did not contain any material misrepresentations or omissions.

However, the Registration Statement misrepresents and/or omits material information that is



                                                 10
necessary for the Company’s stockholders to make an informed decision concerning whether to

vote in favor of the Proposed Transaction, in violation of Sections 14(a) and 20(a) of the Exchange

Act.

         34.       With respect to the financial projections disclosed in the Registration Statement,

the Registration Statement fails to provide material information.

         35.       For the TCF Prospective Financial Projections, the Registration Statement fails to

provide: (i) the estimated excess cash flows that TCF could generate over the period from June 30,

2021 through December 31, 2026 as a standalone company; and (ii) TCF’s basis for providing

KBW the estimated long-term annual growth rates of 5% for TCF’s net income and for TCF’s risk

weighted assets, an estimated pre-tax cost of cash of 1.05% and an estimated marginal tax rate of

18.0%.

         36.       For the Huntington Prospective Financial Projections, the Registration Statement

fails to provide: (i) the estimated excess cash flows that Huntington could generate over the period

from June 30, 2021 through December 31, 2026 as a standalone company, and (ii) Huntington’s

basis for providing KBW the estimated long-term annual growth rates of 3% for TCF’s net income

and for TCF’s risk weighted assets, an estimated pre-tax cost of cash of 1.05% and an estimated

marginal tax rate of 18.0%.

         37.       With respect to KBW’s TCF Selected Companies Analysis, the Registration

Statement fails to disclose the multiples and financial metrics for the companies observed by KBW

in its analysis.

         38.       With respect to KBW’s Huntington Selected Companies Analysis, the Registration

Statement fails to disclose the multiples and financial metrics for the companies observed by KBW

in its analysis.




                                                   11
       39.       With respect to KBW’s Selected Transactions Analysis, the Registration Statement

fails to disclose the multiples and financial metrics for the transactions observed by KBW in its

analysis.

       40.       With respect to KBW’s Huntington Discounted Cash Flow Analysis, the

Registration Statement fails to disclose: (i) present value of the estimated excess cash flows that

Huntington could generate over the period from June 30, 2021 through December 31, 2026; (ii)

the terminal values; (iii) basis for assuming that Huntington would maintain a common equity tier

1 ratio of 9.00% and would retain sufficient earnings to maintain that level; (iv) the basis for

selecting the discount rate range from 9.0% to 12.0%; and (v) the basis for applying a range of

9.5x to 12.5x to Huntington’s estimated 2026 earnings.

       41.       With respect to KBW’s TCF Discounted Cash Flow Analysis, the Registration

Statement fails to disclose: (i) present value of the estimated excess cash flows that TCF could

generate over the period from June 30, 2021 through December 31, 2026; (ii) the terminal values;

(iii) basis for assuming that TCF would maintain a common equity tier 1 ratio of 9.00% and would

retain sufficient earnings to maintain that level; (iv) the basis for selecting the discount rate range

from 10.0% to 13.0%; and (v) the basis for applying a range of 9.0x to 13.0x to TCF’s estimated

2026 earnings.

       42.       With respect to KBW’s Pro Forma Discounted Cash Flow Analysis, the

Registration Statement fails to disclose: (i) present value of the estimated excess cash flows that

the pro forma company could generate over the period from June 30, 2021 through December 31,

2026; (ii) the terminal values; (iii) basis for assuming that the pro forma would maintain a common

equity tier 1 ratio of 9.00% and would retain sufficient earnings to maintain that level; (iv) the




                                                  12
basis for selecting the discount rate range from 9.0% to 12.0%; and (v) the basis for applying a

range of 9.5x to 12.5x to Huntington’s estimated 2026 earnings.

          43.   In sum, the omission of the above-referenced information renders statements in the

Registration Statement materially incomplete and misleading in contravention of the Exchange

Act. Absent disclosure of the foregoing material information prior to the special stockholder

meeting to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed

decision regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened

with irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          44.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          45.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          46.   Defendants have issued the Registration Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Registration Statement and the use of their name in the

Registration Statement, which fails to provide critical information regarding, among other things,

the financial projections that were prepared by the Company and Huntington and relied upon by



                                                 13
the Board in recommending the Company’s stockholders vote in favor of the Proposed

Transaction.

       47.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Registration Statement, but nonetheless failed to obtain and disclose

such information to stockholders although they could have done so without extraordinary effort.

       48.     Defendants were, at the very least, negligent in preparing and reviewing the

Registration Statement.     The preparation of a Registration Statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence.    Defendants were negligent in choosing to omit material information from the

Registration Statement or failing to notice the material omissions in the Registration Statement

upon reviewing it, which they were required to do carefully. Indeed, Defendants were intricately

involved in the process leading up to the signing of the Merger Agreement and the preparation and

review of strategic alternatives and the Company’s and Huntington’s financial projections.

       49.     The misrepresentations and omissions in the Registration Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.




                                                  14
                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          50.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          51.   The Individual Defendants acted as controlling persons of TCF within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as directors of

TCF, and participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the incomplete and misleading statements contained in the Registration Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision making of TCF, including the content and dissemination of the

various statements that Plaintiff contends are materially incomplete and misleading.

          52.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected.

          53.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of TCF, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Registration Statement at issue

contains the unanimous recommendation of the Board to approve the Proposed Transaction. The

Individual Defendants were thus directly involved in the making of the Registration Statement.




                                                 15
       54.     In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Registration Statement purports to describe the various issues and

information that the Individual Defendants reviewed and considered. The Individual Defendants

participated in drafting and/or gave their input on the content of those descriptions.

       55.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       56.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       57.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Registration Statement;

       B.      Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;


                                                 16
          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

 Dated: February 2, 2021                            GOLDMAN & MINTON, P.C.

                                               By: /s/ Thomas J. Minton
 OF COUNSEL:                                       Thomas J. Minton (Bar No. 03370)
                                                   3600 Clipper Mill Road, Suite 201
 WOLF HALDENSTEIN ADLER                            Baltimore, MD 21211
 FREEMAN & HERZ LLP                                Telephone: (410) 783-7575
 Gloria Kui Melwani                                Email: tminton@charmcitylegal.com
 270 Madison Avenue
 New York, NY 10016                                 Attorneys for Plaintiff
 Telephone: (212) 545-4600
 Facsimile: (212) 686-0114
 Email: melwani@whafh.com




                                                  17
